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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )                 8:12CR282
       vs.                                     )
                                               )                   ORDER
GUADALUPE WEBB,                                )
JOSE FLORES-GARCIA,                            )
ROSALINA GONZALEZ,                             )
CERVANDO TERAN TERREZAS,                       )
CHRISTINA ASHLEY RAMIREZ,
MARIO ROSALES,

                     Defendants.


       This matter is before the court on the defendant Jose Flores-Garcia’s motion to
continue trial [222] as counsel needs additional time to investigate case and prepare for trial
 For good cause shown,

       IT IS ORDERED that the motion to continue trial is granted, as follows:

       1. The jury trial now set for February 12, 2013 is continued to March 12, 2013.

       2. Defendant is ordered to file a waiver of speedy trial as soon as practicable.

        3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and March 12, 2013, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel for the defendant the
reasonable time necessary for effective preparation, taking into account the exercise of due
diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED February 6, 2013.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
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